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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

    * * * * * * * * * * * * * * * *
   UNITED STATES OF AMERICA,                )   Criminal Action
                  Plaintiff,                )   No. 21-CR-091-3
   vs.                                      )
                                            )
   TAYLOR JAMES JOHNATAKIS,                 )   April 3, 2024
                  Defendant.                )   10:07 a.m.
                                            )   Washington, D.C.
    * * * * * * * * * * * * * * * *

                   TRANSCRIPT OF SENTENCING HEARING
            BEFORE THE HONORABLE JUDGE ROYCE C. LAMBERTH,
              UNITED STATES DISTRICT COURT SENIOR JUDGE


    APPEARANCES:

    FOR THE UNITED STATES:
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    Court Reporter:              Elizabeth Saint-Loth, RPR, FCRR
                                 Official Court Reporter


              Proceedings reported by machine shorthand.
         Transcript produced by computer-aided transcription.
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 1                              P R O C E E D I N G S

 2                    THE COURTROOM DEPUTY:      We are on the record in

 3       Criminal Case 21-091-3, United States of America versus

 4       Taylor James Johnatakis.

 5                    Starting with the government, please approach the

 6       podium and state your appearance for the record.

 7                    MS. HOWARD:   Courtney Howard and Ashley Akers for

 8       the government, Your Honor.         Good morning.     Also with us at

 9       counsel table is Special Agent Mike Kiley [sic] from the FBI.

10                    THE COURT:    Okay.

11                    THE DEFENDANT:   I am Taylor James Johnatakis.           I

12       am here by special appearance, not general appearance.               And

13       I reserve all my rights with explicit reservation without

14       prejudice.

15                    THE COURT:    Good morning, Mr. Johnatakis.

16                    MR. BLACK:    Good morning, Your Honor.        Chris

17       Black, stand-by counsel, for Mr. Johnatakis.

18                    THE COURT:    The Court is obligated under the

19       sentencing rules to first determine the guidelines, and then

20       I will hear allocution from both sides.           I have the

21       presentence report.

22                    Is there any objection by the defendant to the

23       presentence report as prepared?

24                    THE DEFENDANT:   Judge, does the record reflect

25       that I have accepted all the offers, presentments of demands
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 1       of the Court, the Clerk, the -- the probation -- or

 2       probation, is that correct? -- department?

 3                   THE COURT:    Yes.

 4                   THE DEFENDANT:    And you, Judge Lamberth, and I

 5       return them for settlement and closing in the accounting of

 6       this matter.

 7                   THE COURT:    Okay.     Thank you, Mr. Johnatakis.

 8                   Any objections by the government to the

 9       presentence report as written?

10                   MS. HOWARD:    No, Your Honor.

11                   I will just note one thing for the record.               The

12       government agrees with the PSR's determination that the

13       total offense level is 27, and the Criminal History

14       Category I.

15                   But just one note.      We had in our sentencing memo,

16       on page 19, Footnote 2, that the government does disagree

17       with the final PSR's failure to apply a 6-level enhancement

18       to Count 1 pursuant to 3A1.1(c), but the resulting grouping

19       would still be an offense level 27.

20                   THE COURT:    Okay.

21                   MS. HOWARD:    Thank you.

22                   THE COURT:    All right.     Based on that then, I will

23       determine the total offense level of 27, Criminal History

24       Category I.    So the guideline provisions for Counts 1 and 2

25       would be 70 to 87 months in custody; Count 3 would be -- 60
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 1       months would be the guideline provision; Counts 4 to 6 would

 2       be 12 months; Count 8 would not have equitable guidelines.

 3                   For Counts 1 to 3, supervised release would be --

 4       1 to 3 years would be the guidelines; for Counts 4 to 6, 1

 5       year would be the guideline; and Count 8 would be not

 6       applicable.

 7                   The defendant would not be eligible for probation

 8       on Counts 1 to 6; and on Count 8 that's not applicable.

 9                   The guidelines for the fine would be 25,000 to

10       250,000 on Counts 1 to 3, and 4 to 6; and Count 8, the

11       guidelines would not be applicable.

12                   Restitution will be determined based on the

13       restitution arguments.

14                   The special assessment required to be imposed by

15       statute would be $100 for Counts 1 to 3, each; $25 for

16       Counts 4 to 6, each; and $10 on Count 8, required to be

17       imposed by statute.

18                   So with those guideline calculations then, the

19       Court will hear the allocution of each side as to what the

20       appropriate sentence in the case will be.            The government

21       will go first, and then I will hear from the defendant.             At

22       the end of that, I will announce the sentence.

23                   MS. HOWARD:    Thank you, Your Honor.

24                   Prior to discussing the 3553(a) factors, if Your

25       Honor permits, just briefly we'll discuss a few grounds for
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 1       departure for an upward variance here.

 2                   THE COURT:    Sure.

 3                   MS. HOWARD:    The government is requesting an

 4       upward departure or an upward variance here to a sentence of

 5       108 months in order to adequately account for the uniquely

 6       horrifying events of January 6th and, in particular, the

 7       defendant's egregious conduct on that day.

 8                   There are two grounds for departure that the

 9       government has identified:        5K2.7 for a significant

10       disruption of a governmental function; and 5K2.14, a

11       departure if national security, public health, or safety was

12       significantly endangered.

13                   The government requests that if the Court does

14       apply a departure, if Your Honor would, for the record, also

15       specify that it would have imposed the same sentence as a

16       variance.

17                   Briefly, Your Honor, on the significant disruption

18       of a governmental function, a departure here is appropriate

19       if it's an unusual circumstance where the guidelines do not

20       reflect the appropriate punishment for the offense.

21                   Here, certainly, the obstruction of the Electoral

22       College certification on January 6th is precisely the kind

23       of unusual circumstance that the Sentencing Commission could

24       not have anticipated, and that warrants an upward departure.

25                   This was an unprecedented day in American history.
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 1       The defendant and others obstructed the certification

 2       proceeding and the peaceful transfer of power; more than 100

 3       police officers and more than -- were injured, and more than

 4       $2.9 million in losses were suffered as a result.

 5                    So few, if any, disruptions of governmental

 6       functions have been more substantial than this one.             It was

 7       a disruption that was far from the heartland of the typical

 8       obstruction offense, and so this upward departure under the

 9       guideline would be appropriate.

10                    Second, 5K2.14 allows for a departure of national

11       security, public health, or safety was significantly

12       endangered.    Here, given the dangerous circumstances created

13       by the riot allows for this as an additional grounds for

14       departure.    The assault on the Capitol endangered the safety

15       of the public, police, and elected officials in a way that's

16       not already reflected in the defendant's guideline range.

17                    So with that, Your Honor, the government will move

18       to discussion of the 3553(a) factors in this case.             And in

19       their totality, the government submits that they support an

20       upward variance here in a sentence of 108 months for the

21       defendant.

22                    Beginning with the nature and circumstances of

23       this offense, the severity of the defendant's conduct on

24       January 6th is critically important for the Court to

25       consider when fashioning a sentence here, especially in
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 1       light of the defendant's refusal to acknowledge his crimes

 2       and his minimization of his conduct in some of his recent

 3       public statements, which we will get to shortly.

 4                   The defendant joined a massive riot that

 5       obstructed the certification of the presidential vote and

 6       the peaceful transfer of power.        But the defendant wasn't

 7       just any rioter here, Your Honor, he was a leader.             He

 8       pushed his way to the front of the violent mob on the West

 9       Front of the Capitol, and he led that mob up the southwest

10       stairs to the Capitol Building.

11                   He came to the riot equipped with a megaphone on

12       his back, and he used that megaphone to organize and to

13       coordinate an attack on police officers defending the

14       Capitol.

15                   None of this was a mistake or a misunderstanding.

16                   Johnatakis flew to Washington, D.C., and he did so

17       with the intent to obstruct the certification.

18                   The day before the riot, the defendant posted to

19       social media, quote:      "Burn the city down.       What the British

20       did to D.C. will be nothing."

21                   The next day, on January 6th, the defendant

22       marched from the "Stop the Steal" rally to the U.S. Capitol,

23       and along the way he recorded a video and he posted it to

24       social media.    In that video, in part, he said, quote:

25       "We're walking over to the Capitol right now, and I don't
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 1       know, maybe we'll break down the doors."

 2                    Again, his intent was clear.

 3                    When he got near Capitol grounds, the defendant

 4       yelled into his megaphone and he encouraged the surrounding

 5       crowd saying, in part, quote:       "Michael Pence has become a

 6       traitor to this nation.      Michael Pence has voted against the

 7       President.    We are down to the nuclear option."

 8                    Then he made his way to the West Front of the

 9       Capitol, where the inaugural stage was still being

10       constructed.    And that scene, which Your Honor will recall

11       from several videos from the trial, was incredibly violent

12       and chaotic.    And the police were vastly outnumbered by the

13       rioters who were pushing their way through the line toward

14       the Capitol.    There was tear gas in the air, rioters were

15       throwing things at officers, there were assaults on

16       officers, and they were attempting to get through the line

17       up to the Capitol Building.

18                    The video footage played at trial showed the

19       defendant pushing his way to the front of that mob on the

20       West Front and then leading the charge up the southwest

21       stairs.   He was leading that mob up the southwest stairs in

22       the face of the retreating police officers who were walking

23       backward up the stairs defending the officers behind them.

24                    He was face-to-face with Captain Augustine who

25       testified at trial.      He was the last -- one of the last ones
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 1       of up the staircase, and he was retreating backward while

 2       holding, Your Honor will recall, a large OC spray canister

 3       in an attempt to defend himself and his fellow officers.

 4                   And Your Honor will recall -- and there are

 5       screenshots of this in our sentencing memo -- that Captain

 6       Augustine looked at that point like he had been through a

 7       battle.   He was covered in orange chemical spray and

 8       chemical irritants, and blood was dripping all over the side

 9       of his face.

10                   Johnatakis was right in front of him.          And the

11       defendant pushed forward up the stairs, toward the building;

12       and then he waved other rioters up the stairs encouraging

13       them to pack in, pack in, right in front of that police

14       line.   He yelled into his megaphone:        "Pack it in.      Pack it

15       in."    And then he coordinated with other rioters to get the

16       assault planned.

17                   And then the defendant yelled into his megaphone:

18       "One foot, one foot, push them out of here, we're just using

19       our bodies."    And then he counted down over that megaphone,

20       coordinating the rioters to assault all at the same time:

21       "One, two, three, go."

22                   At that point, the defendant and the other rioters

23       grabbed the metal barricade and they used it to push into

24       the line of police officers, assaulting them with it.               And

25       then they lifted the barricade up over their heads and
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 1       crawled underneath it in order to engage directly and fight

 2       the officers directly.       And the defendant even grabbed the

 3       arm -- and we have a still shot of that in the sentencing

 4       memo -- grabbed the arm of one of the officers who testified

 5       at trial that he wasn't able to defend himself.                He

 6       testified that, quote:       "It was a scary situation for us,

 7       for me."

 8                   Another victim of the defendant's assault

 9       testified that the scene was, quote:           "Frightening."           That

10       victim also testified, quote:         "I thought they were going to

11       come through.        I thought we were going to be trampled.             I

12       thought we were going to be hurt.          I thought we were going

13       to die."

14                   One of the victims also suffered an injury to his

15       leg.   And he was in so much pain that, after the assault, he

16       stumbled from the police line down to the stairs and fell on

17       the steps because of the pain.

18                   Following the assault, the defendant bragged about

19       his role in the riot in several videos, and he posted some

20       of them online.

21                   He said, quote:      "Organized a push-up to the

22       Capitol."    He described the mob, quote:             "Taking the

23       Capitol," causing congressmen and senators to evacuate with

24       black bags over their heads because -- quote -- "the crowd

25       was so irate we probably would have murdered a few of them
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 1       had we seen exactly who they were."

 2                   His words of violence accompany comparisons of

 3       January 6th to 1776, the American Revolution.

 4                   So, Your Honor, the nature and the circumstances

 5       of the offenses here were of the utmost seriousness, and

 6       they fully support a sentence of 108 months.

 7                   Next, the history and characteristics of the

 8       defendant are also worthy of consideration here and support

 9       an upward variance.      The defendant has yet to accept

10       responsibility for his crimes.        He has expressed no remorse,

11       either before, during, or after trial.           In fact, he's done

12       the opposite.

13                   As detailed in the government's sentencing memo,

14       since his conviction, the defendant has been speaking

15       publicly -- both in interviews that have been posted online

16       and in letters posted to his website -- about the injustice

17       of his prosecution and the prosecutions of other January 6th

18       defendants.     He writes and speaks about suffering and

19       enduring the burden of unequal justice, and guilt by

20       association.

21                   What these interviews and posts demonstrate is a

22       continued lack of remorse and a refusal by the defendant to

23       accept responsibility for his actions.

24                   For example, in one interview, the defendant

25       described his conduct -- his assault on the officers, he
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 1       described it as, quote, "touching a gate."

 2                   He said, quote:     "And when I tell you we did

 3       nothing, we did nothing."       "We touched a gate."        "Everything

 4       about January 6th is just overblown."

 5                   I just briefly, Your Honor, want to play, as a

 6       reminder to the Court, the assault on the officers that the

 7       defendant has described as "touching a gate."

 8                   If you will just give me a moment.

 9                   (Whereupon, a video was published.)

10                   MS. HOWARD:    At trial, the defendant also showed

11       his lack of genuine sympathy for the victim officers

12       depicted in that assault by play acting in front of the jury

13       and asking the officers for forgiveness in front of the

14       jury, putting his own assault victims in the impossible

15       position of having to accept his apology in front of the

16       jury.

17                   His disingenuous [sic] at trial is even more clear

18       upon review of Johnatakis's statements that he has made

19       publicly posttrial, which show his refusal to accept

20       responsibility for his crimes and show any remorse, and

21       describing the assault as "doing nothing," it's "overblown,"

22       and he was just "touching a gate."

23                   He is going so far as to portray himself as a

24       persecuted victim.

25                   All of these facts that I have just discussed,
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 1       Your Honor, they also go to the need for the sentence here

 2       to afford specific deterrence to this particular defendant.

 3                   His statements before and during January 6th, as

 4       well as his actions leading the assault on January 6th,

 5       demonstrate that he believes that violence is an appropriate

 6       solution to his own political grievances.            So a lengthy

 7       period of incarceration is necessary here.

 8                   In addition, the sentence of 108 months is

 9       necessary to provide general deterrence, which is

10       particularly important, as Your Honor knows, in domestic

11       terrorism cases like the attack here on the Capitol on

12       January 6th.

13                   Finally, Your Honor, a sentence of 108 months is

14       consistent with the sentences the Court handed to

15       Johnatakis's two codefendants, Craig Bingert and Isaac

16       Sturgeon.

17                   Given Johnatakis's role leading the mob, leading

18       the assault on the officers, and given his culpability as

19       well as the seriousness of the offense, the history and

20       characteristics of the defendant, and the need for

21       deterrence, the government would ask the Court to sentence

22       the defendant to 108 months.

23                   THE COURT:    Thank you, Counsel.

24                   All right.    Mr. Johnatakis.

25                   THE DEFENDANT:     Judge Lamberth, does the record
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 1       reflect that I have repented my sins?

 2                   THE COURT:    Yes.

 3                   THE DEFENDANT:     The record -- does the record

 4       reflect that I have accepted all of the offers,

 5       presentments, and demands of the Clerk; this court; and you,

 6       Judge Lamberth, and return them for settlement and closure

 7       in the accounting of this matter?

 8                   THE COURT:    Yes.

 9                   THE DEFENDANT:     Does the Court record reflect that

10       the accepted offers and presentments returned in this matter

11       constitute a liability on the Court Clerk; this court; the

12       prosecutor; and you, Judge Lamberth, to settle and close the

13       matter, the -- the liability and the accounting in this

14       matter?

15                   THE COURT:    Whatever that means.

16                   THE DEFENDANT:     Is that a yes?

17                   THE COURT:    Yes.

18                   I got something from you last night I have added

19       in.   I got something in the mail from you last night that I

20       have added in, where it says:        You accept -- whatever.

21                   THE DEFENDANT:     Okay.

22                   THE COURT:    It doesn't matter whether you accept

23       it or not, I am here to sentence you today.

24                   THE DEFENDANT:     Does the record reflect that there

25       is no contract?
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 1                   THE COURT:    There is no?

 2                   THE DEFENDANT:     Contract.

 3                   THE COURT:    There is no contract.        There doesn't

 4       need to be a contract.

 5                   THE DEFENDANT:     Judge, are you making me a new

 6       offer?

 7                   THE COURT:    I am not making you any offer.             I am

 8       sentencing you today.

 9                   THE DEFENDANT:     Okay.

10                   THE COURT:    I am offering you nothing.

11                   THE DEFENDANT:     Judge -- Judge Lamberth --

12                   THE COURT:    I am following the law.

13                   THE DEFENDANT:     Thank you, Judge.

14                   THE COURT:    The law requires me to impose a

15       sentence for the crimes you have committed.

16                   THE DEFENDANT:     Does the record reflect that I do

17       not and have not, in this matter, argued the facts, the law,

18       the jurisdiction, or the venue?

19                   THE COURT:    I don't know about that.         But the

20       record -- I am not commenting on what the record reflects at

21       this point.     I am just allowing you to make whatever

22       statements you want to make.

23                   THE DEFENDANT:     Thank you.

24                   Does the record reflect I request you issue me the

25       appearance bond and waive all public costs?
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 1                   THE COURT:    I am not answering questions here.

 2       You make whatever statements you want to make.

 3                   THE DEFENDANT:     Okay.

 4                   I request you issue me the appearance bond and

 5       waive all public costs.      I request you close the account and

 6       issue the order of the Court to me --

 7                   THE COURT:    I am not closing any account until I

 8       sentence you.

 9                   THE DEFENDANT:     Thank you.

10                   I request you adjust and set off all public

11       charges by the exemption in accord with public policy, and I

12       request discharge.

13                   Judge, I am aware of compelled performance, but I

14       am not aware of any international, admiralty, maritime, or

15       commercial agreement bearing my signature that would compel

16       me to acquiesce to further incarceration; however, if you

17       would please present it, I will honor it to the letter of

18       the law.    Otherwise, I do not consent.         I do not consent.   I

19       do not consent.

20                   Judge, again, does the record reflect I have

21       repented of my sins and any dishonors in this manner?

22                   THE COURT:    Whatever it is you are requesting,

23       it's denied.

24                   THE DEFENDANT:     Are you -- are you -- are you

25       imposing a contract upon me of which I am not able to
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 1       accept?

 2                   THE COURT:    I am not imposing a contract on you, I

 3       am sentencing you in accordance with the law.

 4                   THE DEFENDANT:      Is that an imposition of a

 5       sentence?

 6                   THE COURT:    Yes.

 7                   THE DEFENDANT:      Is an imposition not a tax?

 8                   THE COURT:    I don't know what that means.

 9                   THE DEFENDANT:      A tax?

10                   THE COURT:    I don't know what you are talking

11       about.    It's gobbledygook to me.

12                   THE DEFENDANT:      Judge Lamberth, thank you.

13                   I hold no ill will to this Court, to any of the

14       officers or those involved in this matter.

15                   The record -- I would like the record to reflect,

16       I do repent of my sins.      I accept accountability in this

17       matter.    And I do not argue the facts, law, jurisdiction, or

18       venue.    Thank you.

19                   THE COURT:    Okay.

20                   Would standby counsel like to add anything on his

21       behalf?

22                   I don't know if you have talked to him about that

23       or not.

24                   MR. BLACK:    No.    Thank you, Your Honor.

25                   THE COURT:    Okay.
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 1                   I am going to make a statement for the record

 2       about sentencing before I call the defendant up to impose

 3       the sentence.

 4                   I have received over 20 letters from friends and

 5       family, including from Mr. Johnatakis's wife, his mother,

 6       and others.     Those letters speak to Mr. Johnatakis's good

 7       works, good nature, and good character.              Most ask for the

 8       Court to release him right away.         Many say he did nothing

 9       criminal on January 6th and is no danger to society.

10                   I appreciate that the defendant has, with

11       exceptions, been courteous and respectful to the Court, and

12       I harbor no personal animosity toward him.

13                   The Court agrees that Mr. Johnatakis, like many

14       January 6th defendants, is not an inherently bad person;

15       that is what makes these cases hard.          As the Court has said

16       many times, I take no great pleasure in locking up

17       defendants who led good lives until their actions on

18       January 6, 2021.

19                   After 37 years on the bench, the Court knows how

20       disruptive a prison sentence can be for defendants and their

21       families; nevertheless, the Court cannot let people entirely

22       off the hook for their actions that day.

23                   In light of the defendant's supportive letters,

24       the Court would like to take a moment to explain what it's

25       trying to accomplish when it sentences a defendant, such as
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 1       Mr. Johnatakis, for events arising out of the January 6th

 2       attack on the Capitol.

 3                   A society in which everyone does what is right by

 4       his own lights, where adherence to the law is optional,

 5       would be a society of vigilantism, lawlessness, and anarchy.

 6                   As my late friend Justice Antonin Scalia once

 7       wrote:    It is the proud boast of our democracy that we have

 8       a government of laws and not of men, in the case of Morrison

 9       v. Olson.

10                   A person dissatisfied with the government or the

11       law has various nonviolent ways to express his or her views.

12       The First Amendment protects freedom of speech, it also

13       enshrines the right of the people peaceably -- let me

14       repeat -- peacefully to assemble.

15                   History has shown there is some role for the civil

16       disobedience of Henry David Thoreau and Martin Luther King

17       Jr. in which a citizen engages in principled and peaceful --

18       let me repeat -- peaceful disobedience of the law in order

19       to protest a perceived injustice.         In that situation, the

20       person acknowledges they have broken the law and accepts the

21       legal consequences that follow.

22                   But what the jury found Mr. Johnatakis to have

23       done on January 6th was neither First Amendment-protected

24       activity nor civil disobedience.

25                   As the Court has said before, the First Amendment
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 1       does not give anyone the right to enter a restricted area or

 2       to engage in riotous activity in the Capitol, citing my own

 3       opinion in U.S. v. Little.          It obviously does not give

 4       anyone the right to assault the police; nor was the

 5       January 6th riot an act of civil disobedience because it was

 6       violent, not peaceful; opportunistic, not principled;

 7       coercive, not persuasive; and selfish, not patriotic.

 8                   The portrayal of Mr. Johnatakis as either a

 9       peaceful protester or simply someone swept up by the crowd

10       does not match the reality established at trial.

11                   One thing that strikes me about the letters is

12       that few of the authors seem to know what he actually did.

13       One person even wrote me that they know he has never done

14       anything violent and never would.

15                   Perhaps Mr. Johnatakis contributed to this

16       misperception; although, he repeatedly expressed his

17       heartfelt and sincere regrets at trial.                For example, in the

18       trial transcript on November 20th, at page 71, his sincere

19       conviction that he's denied his conduct and downplayed his

20       January 6th -- the January 6th riot itself.                But the Court

21       knows the facts of this case because it heard from the

22       witnesses and examined the evidence, including the police

23       body camera footage and videos filmed by Mr. Johnatakis

24       himself.

25                   The Court would, therefore, like to set the record
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 1       straight about what Mr. Johnatakis actually did that day.

 2                   In any angry mob there are leaders and there are

 3       followers, Mr. Johnatakis was a leader.              He knew what he was

 4       doing that day.

 5                   On January 5th, he posted on social media:                 "Burn

 6       the city down.       What the British did to D.C. would be

 7       nothing."    Trial Exhibit 904G.

 8                   The next day, while marching to the Capitol, he

 9       recorded and posted a video in which he proclaimed:                "Were

10       we're marching over to the Capitol right now, and I don't

11       know, maybe we'll break down the doors."             That's in the

12       presentence report at paragraph 26.

13                   Once he got to the restricted grounds of the

14       Capitol, he made his way to the vanguard of the crowd, all

15       the while yelling into the megaphone he brought with him.

16       That's in the presentence report at paragraphs 27 to 29.

17                   As Metropolitan Police Department Captain David

18       Augustine testified at the trial, rioters eventually

19       overwhelmed the police line; forced the officers to retreat

20       up the Capitol southwest stairs under the scaffolding

21       created for the inauguration.

22                   The video played at trial shows that

23       Mr. Johnatakis led the charge up the stairs.              He soon

24       reached the fallback line and barricades manned by the

25       police in order to protect the Capitol Building itself and
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 1       the members of Congress, staff, and others inside.

 2                   When he got there, he waved on more people toward

 3       the police line; and through his megaphone, he barked

 4       commands to pack it in.

 5                   So although one of the letters claims

 6       Mr. Johnatakis set out with good intentions and ended up in

 7       a crowd of orchestrated, out-of-control protesters, in fact,

 8       it was Mr. Johnatakis himself who organized the protesters

 9       to violence that day.

10                   Once again, rioters had heeded his calls and

11       swarmed against the police line.         Mr. Johnatakis deployed

12       his megaphone to give encouragement in step-by-step

13       instructions for overpowering the police.

14                   As he announced "One, two, three, go," he and his

15       fellow rioters, including his codefendants -- Craig Bingert

16       and Isaac Sturgeon, who were just on that video that the

17       government played here at sentencing -- picked up the metal

18       barricades and slammed them into the police officers.

19       That's in the presentence report at paragraph 33.

20                   Mr. Johnatakis and the others then raised the

21       barriers higher, until they were about head level with the

22       officers, so the mob could brawl with the officers without

23       the barriers getting in the way.         In the resulting melee,

24       Mr. Johnatakis seized MPD Officer Juan Gonzalez by the arm.

25       In presentence report, paragraph 33.
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 1                   Officer Gonzalez testified at the trial that with

 2       Mr. Johnatakis holding his arm in place he was unable to

 3       hold back the line of rioters or protect himself.             Trial

 4       transcript on November 20th, at 67.

 5                   By effectively disarming Officer Gonzalez,

 6       Mr. Johnatakis made him vulnerable to serious injury or

 7       worse.    Indeed, Officer Gonzalez said that during the

 8       assault he felt like he had suffered a serious injury and

 9       perhaps even broken his leg.        That's the trial testimony at

10       page 58.

11                   Another officer who was standing alongside this

12       officer, Officer Mark D'Avignon, thought he was going to

13       die.   Trial testimony at 51.

14                   As Mr. Johnatakis walked away from the Capitol, he

15       recorded several videos in which he expressed his

16       satisfaction with what had occurred and prided his role that

17       he had played.       He crowed that:   "For the first time since

18       1817, that Capitol was stormed," and that members of

19       Congress were forced to evacuate.         That's in the presentence

20       report at paragraph 37.

21                   He boasted:     "The crowd was so irate that we

22       probably would have murdered a few of the members of

23       Congress had we seen exactly who they were."            That's in the

24       presentence report at paragraph 37.

25                   He summed up his conduct:        "I was on the front
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 1       line, I was on the gate.       I organized a push-up to the

 2       Capitol because I felt like that was exactly what we

 3       needed."    That's also in paragraph -- the presentence report

 4       at 37.

 5                   He also explained it was 1776 again, as if he were

 6       fighting for freedom against a foreign oppressor, rather

 7       than battling his own elected representative government.

 8       That's in paragraphs 36 of the presentence report.

 9                   As the Court has said before:             On January 6, 2021,

10       a mob of people invaded and occupied the Capitol using force

11       to interrupt the peaceful transfer of power mandated by the

12       Constitution and our republican heritage.              That's in my

13       resentencing in the Little case.

14                   There can be no room in our country for this sort

15       of political violence.      The framers designed our

16       constitutional system so that people governed through their

17       representatives according to law; decisions are the result

18       of elections, debates, and compromise; the people through

19       their representatives decide.

20                   By contrast, those who think political ends

21       justify violent means seek to replace persuasion with

22       intimidation, the rule of law with "might makes right."

23                   Violence risks begetting a vicious cycle that

24       could threaten cherished conventions and imperil our very

25       institutions of government.         In that sense, political
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 1       violence rocks republics; therefore, January 6th must not

 2       become a precedent for further violence against political

 3       opponents or governmental institutions.              That is not normal.

 4       This cannot become normal.

 5                   We as a community, we as society, we as a country

 6       cannot condone the normalization of the January 6th Capitol

 7       riot.    This is the context in which the Court must sentence

 8       those convicted for their actions on January 6th.

 9                   To be sure, many people that day exercised their

10       right to protest peacefully without violating any laws, but

11       others have pleaded guilty to crimes or have been convicted

12       to crimes after a bench or jury trial.

13                   When it comes to sentencing these defendants, the

14       Court must consider the same factors as in any other

15       sentencing, including for the need for the sentence imposed:

16       A, to reflect the seriousness of the offense, to promote

17       respect for the law, and to provide just punishment for the

18       offense; B, to afford adequate deterrence to future criminal

19       conduct; and C, to protect the public from further crimes of

20       the defendant, quoting 18 U.S.C. Section 3553(a)(2).

21                   When sentencing a person convicted for January 6th

22       offenses, the Court aims to discourage these defendants from

23       future violence, dissuade others from taking inspiration

24       from the Capitol riot, and express the community's moral

25       disapproval of this conduct.        The Court must bear these
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 1       considerations in mind even as it is sensitive to the fact

 2       that every prison sentence leaves a void in the lives of the

 3       defendant's family and friends.

 4                   The Court would also like to address

 5       Mr. Johnatakis's conduct since the jury convicted him.

 6                   At trial he repeatedly expressed contrition to the

 7       Court and the jury but he changes his story depending on his

 8       audience.    Since conviction, he's frequently offered public

 9       commentary about his actions on January 6th, including

10       issuing letters and giving speeches and podcast interviews

11       from the jail.

12                   The D.C. Jail and the marshal service have

13       reported to me that to give interviews he reportedly

14       bypassed the D.C. Jail's safeguards.           When the jail blocked

15       him from calling into a podcast directly, rather than

16       consult the jail's authorities to see if such an interview

17       would be permitted, he devised a workaround to reach the

18       podcast hold.        It has come to the attention that this

19       particular podcast episode was ultimately published on

20       YouTube on January 29, 2024.         See Quite Frankly "D.C. Gulag

21       & NYC Tunnels," Taylor James Johnatakis, 1/9/24 YouTube,

22       January 9, 2024, httpswww.youtube.com/watch- [sic] -- the

23       whole site there.       I will put in a written version of this

24       that I will file on the court record.

25                   But Mr. Johnatakis's message was this:            "We did
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 1       nothing.    We touched a gate.      We got pepper sprayed.           We

 2       moved back."     That was it.

 3                    He also said that everything about January 6th is

 4       just overblown.

 5                    Similarly, in a December 12, 2023, letter he

 6       explained his actions by saying:         I chose to get rowdy, but

 7       not violent.     At the time I felt it was a right borne of

 8       necessity.

 9                    The government cites that in their sentencing memo

10       at page 16.

11                    These comments suggest that Mr. Johnatakis sought

12       to mislead the Court and the jury when he expressly --

13       repeatedly expressed his contrition for his actions on

14       January 6th, for instance, by asking the witnesses to:

15       Please accept my sincere apology for my role in the events

16       that day.    Trial transcript at 30, 51, 71, and 127.

17                    These remarks leave no doubt that Mr. Johnatakis,

18       unlike many January 6th defendants sentenced by the Court,

19       does not accept responsibility for his actions and does not

20       show true remorse.      Indeed, he did not do so today.

21                    Although his speech itself is protected, a person

22       who violates the rules of confinement through subterfuge

23       nevertheless does not demonstrate that the Court should

24       depart from the guidelines for these offenses or even give

25       him the low end of the guidelines.         This subterfuge recalls
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 1       his brazen attempts to abuse the trial process by making

 2       improper comments to the jury.

 3                    Before the trial began, I went to great pains to

 4       remind Mr. Johnatakis that, in exercising his constitutional

 5       right to self-representation, he would be expected to adhere

 6       to the same rules, the same procedures, the same substantive

 7       law as any other defendant.

 8                    The Court specifically advised him that if he was

 9       unsure about whether a particular argument was appropriate

10       for the jury he should either consult his standby counsel or

11       speak to me outside the earshot of the jury.

12                    In response, he said he accepted the Court's

13       statement.    For most of the trial, Mr. Johnatakis was

14       courteous and respectful of the Court; but as soon as he

15       began his closing arguments, he started telling the jury

16       facts not in the record.       He was effectively trying to

17       testify without being subject to cross-examine.              Then he

18       tried to argue for jury nullification.            Trial transcript at

19       159 to 161.

20                    After the Court shut down both attempts, it

21       required Mr. Johnatakis to read to the Court what he planned

22       to say next to the jury.       Yet, as soon as the Court approved

23       his remarks, he began making further improper remarks he had

24       not cleared with the Court.         Trial transcript at 163 to 165.

25                    His efforts to subvert the judicial process
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 1       through various unorthodox means combined with his lack of

 2       remorse makes me worry that, if given the chance, he will

 3       engage again in violent criminal activity.

 4                    Finally, the Court would like to address the

 5       insights into Mr. Johnatakis's character offered by his

 6       letters of support.

 7                    Under 18 U.S.C. Section 3553, one factor the Court

 8       considers in every sentencing is the history and

 9       characteristics of the defendant.

10                    The Court is grateful that so many people took the

11       time to submit thoughtful letters in support of the

12       defendant.    The Court respects their views of

13       Mr. Johnatakis, I read every letter.          I took into account

14       their comments about the good qualities he has exhibited

15       over a lifetime.

16                    Yet, in our system of justice, we punish people

17       not only for their overall character, but for their actions.

18       Living an otherwise blameless life does not grant anyone a

19       free pass.

20                    Mr. Johnatakis is not here today because of who he

21       is, but to be accountable for what he did.            Like the jury, I

22       listened to the witnesses and examined the evidence of his

23       actions on January 6th.      Having done so, the Court concludes

24       that unfortunately for him, his friends, his family, and our

25       society, it seems that Mr. Johnatakis left his good
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 1       qualities at home when he went to the Capitol on

 2       January 6th.     The actions of Mr. Johnatakis are inexcusable,

 3       his choices have consequences.

 4                   The Court takes no pleasure in sending any

 5       defendant to prison, but it will not shirk its solemn duty

 6       to enforce the law and order.

 7                   So Mr. Johnatakis's friends and family can

 8       understand the sentence I have imposed today, I will order

 9       the Clerk of Court to send a copy of these remarks to each

10       person who submitted a letter on Mr. Johnatakis's behalf.            I

11       am pleased that some of his family could be here to hear my

12       own words of why I am doing what I am doing.

13                   I will decline to depart upward or vary upward on

14       the guidelines, but I will impose the guideline sentence in

15       the case.

16                   If you could come forward at this time,

17       Mr. Johnatakis, I will announce your sentence.

18                   Pursuant to the Sentencing Reform Act of 1984 and

19       in consideration of the provisions of 18 U.S.C. Section

20       3553, it is the judgment of the Court that you, Taylor James

21       Johnatakis, hereby are committed to the custody of the

22       Bureau of Prisons for concurrent terms of 87 months on

23       Counts 1 and 2; 60 months on Count 3; 12 months on each of

24       Counts 4, 5, and 6; and 6 months on Count 8.            All to be

25       served concurrently.
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 1                   In addition, you are ordered to pay special

 2       assessments of a total of $385; 100 each on Counts 1 to 3;

 3       25 each on Counts 4 to 6; and $10 on Count 8.

 4                   The Court will waive imposition of a fine.

 5                   Restitution in the amount of $2,000 will be

 6       ordered to be made to the Architect of the Capitol.

 7                   I find you do not have the ability to pay

 8       interest, and waive interest and penalties on the

 9       restitution amount as well without harming your family.              So

10       restitution -- I will waive interest on the restitution as

11       well.

12                   Restitution payments must be made to the Clerk of

13       the Court of the U.S. District Court for the District of

14       Columbia for disbursement to the Architect of the Capitol,

15       Office of the Chief Financial Officer, Ford House Office

16       Building, Room H2-205B, Washington, D.C., 21515.

17                   You will be sentenced to a term of supervised

18       release on Counts 1 to 3 of three years each; on Counts 4 to

19       6 of one year.       While on supervision, you shall abide by the

20       mandatory conditions of supervised release as well as all

21       discretionary conditions recommended by the probation

22       office, in Part D, Sentencing Options, of the presentence

23       report, which are imposed to establish the basic

24       expectations for your conduct while on supervision.

25                   Mandatory conditions include:
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 1                    One, you must not commit another federal, state,

 2       or local crime.

 3                    Two, you must not unlawfully possess a controlled

 4       substance.

 5                    Three, you must refrain from any unlawful use of a

 6       controlled substance.      You must submit to one drug test

 7       within 15 days of placement on supervision and at least two

 8       periodic drug tests thereafter as determined by the Court.

 9                    Four, you must cooperate in the collection of DNA

10       as directed by the probation office.

11                    Five, you must make restitution in accordance with

12       18 U.S.C. Section 3663 and 3663(a) or any other statute

13       authorizing the sentence of restitution.

14                    The restitution payments are a special condition

15       of supervised release, as well as the following special

16       conditions:

17                    One, you must provide the probation office access

18       to any requested financial information, authorize the

19       release of financial information until the restitution has

20       been paid.

21                    Two, you must participate in a mental health

22       treatment program, follow the rules and regulations of that

23       program.    The probation office in consultation with the

24       treatment provider shall supervise your participation in the

25       program, provider, location, modality, duration, et cetera.
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 1                   The financial obligation of restitution of the

 2       $385 are payable to the Clerk of Court, U.S. District Court,

 3       333 Constitution Avenue Northwest, Washington, D.C. 20001.

 4       Within 30 days of any change of address, you shall notify

 5       the Clerk of Court of the change until such time as the

 6       financial obligation is paid in full.

 7                   The probation office shall release the presentence

 8       investigation report to all appropriate agencies, which

 9       includes the probation office in the approved district of

10       residence in order to execute the sentence of the Court.

11                   Treatment agencies shall return the presentence

12       report to the probation office upon the defendant's

13       completion or termination from treatment.

14                   Pursuant to 18 U.S.C. Section 3742, you have a

15       right to appeal the verdict in this case and this sentence.

16       If you choose to appeal, you must file your appeal within

17       14 days after the Court enters judgment.             If you are unable

18       to afford the cost of an appeal, you may request permission

19       from the Court to file an appeal without cost to you.

20                   As defined in 28 U.S.C. Section 2255, you have the

21       right to appeal the conviction entered or sentence imposed

22       if new or currently unavailable information becomes

23       available to you.      If you are unable to afford the cost of

24       an appeal, again, you may request permission to file an

25       appeal without cost to you.
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 1                   Are there any objections to the sentence as

 2       imposed not already noted on the record?

 3                   MS. HOWARD:    None from the government.            Thank you.

 4                   THE COURT:    Okay.     Do you want to make objections

 5       to the sentence?

 6                   THE DEFENDANT:     Does the record reflect I repented

 7       my sins?

 8                   And I accept your offer, I return it for

 9       settlement and closure, and I request discharge in this

10       matter.

11                   THE COURT:    Okay.     That's denied.

12                   Is there a facility in which -- have you talked to

13       your lawyer or anyone about what I should recommend about a

14       facility where you go?

15                   THE DEFENDANT:     No.

16                   THE COURT:    Okay.     Mr. Black, do you have any

17       suggestions about that?

18                   MR. BLACK:    Your Honor, I discussed that with

19       Mr. Johnatakis, and he has asked me not to make any requests

20       for recommendations.

21                   THE COURT:    I can't hear you.           You better come up

22       to the podium.

23                   THE DEFENDANT:     My -- my family will be moving to

24       Iowa.    So anywhere near Iowa.

25                   THE COURT:    Close to Iowa?
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 1                   THE DEFENDANT:      Yeah.

 2                   THE COURT:     Okay.    I can make a recommendation.

 3       Bureau of Prisons is not required because they have to

 4       figure out their staffing needs, but I am happy to make a

 5       recommendation.

 6                   As I say to you, Mr. Johnatakis -- and I said at

 7       some length there -- you have been very -- you and I have,

 8       throughout this process, had an interesting relationship.

 9                   I understand what you are trying to do.            I wanted

10       to set forth what I am trying to do as well; we have a

11       difference of opinion, obviously.

12                   Good luck to you in the Court of Appeals.

13                   THE DEFENDANT:      Judge, thank you so much.         I do

14       honor what you do for this country and what you have done in

15       your career.

16                   THE COURT:     I appreciate that.

17                   THE DEFENDANT:      And I appreciate you allowing me

18       to stand on my rights.

19                   THE COURT:     I understand why you are doing what

20       you are doing.       And I --

21                   THE DEFENDANT:      It is my belief that when you

22       stand on your rights you injure no one.

23                   THE COURT:     -- I have to say, I know you believe

24       it.   And I have to say, we're each doing the roles that we

25       have in this position, and I appreciate the fact that you
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 1       have never been obstreperous.        You have stated your position

 2       throughout.

 3                    I have had defendants who wanted to get in fights

 4       with the marshal and everything else, you have never been

 5       like that.    I appreciate the fact that we got through

 6       this -- we got through today respecting each other's

 7       positions, and I appreciate that.

 8                    THE DEFENDANT:    Accept.    Thank you.

 9                    THE COURT:   The Court will be in recess.

10                    (Whereupon, the proceeding concludes, 11:00 a.m.)

11                                     * * * * *

12                                     CERTIFICATE

13                 I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
         certify that the foregoing constitutes a true and accurate
14       transcript of my stenographic notes, and is a full, true,
         and complete transcript of the proceedings to the best of my
15       ability.

16                This certificate shall be considered null and void
         if the transcript is disassembled and/or photocopied in any
17       manner by any party without authorization of the signatory
         below.
18

19
              Dated this 30th day of August, 2024.
20
              /s/ Elizabeth Saint-Loth, RPR, FCRR
21            Official Court Reporter

22

23

24

25
